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              IN THE DISTRICT COURT OF THE UNITED STATES
                  FOR THE DISTRICT OF SOUTH CAROLINA
                         GREENWOOD DIVISION

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UNITED STATES OF AMERICA              )
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                                                   18 USC § 922(g)( 1)
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                                      )            18 USC§ 924(e)                 ~
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              Vs.                     )            18 USC§ 924(c)(l)(A)           ~
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                                      )            21 USC§ 841(a)(l)                  ti lr
KEITH DARRELL LONG
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                                                   21 USC§ 841(b)(l)(C)               -       P'l
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                                      )
                                                    INDICTMENT


                                    COUNTl

THE GRAND WRY CHARGES:

      That on or about August 15, 201 7, in the District of South Carolina, the

Defendant, KEITH DARRELL LONG, having been convicted of a crime

punishable by imprisonment for a term exceeding one year, knowingly did possess

in and affecting commerce, a firearm, that is, a .38 caliber pistol, which had been

shipped and transported in interstate and foreign commerce;

      In violation of Title 18, United States Code, Sections 922(g)(l), 924(a)(2),

and 924(e).
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                                     COUNT2

THE GRAND JURY FURTHER CHARGES:

      That on or about August 15, 2017, in the District of South Carolina, the

Defendant, KEITH DARRELL LONG, knowingly, intentionally and unlawfully

did possess with intent to distribute less than 50 grams or more of a mixture or

substance containing a detectable amount of methamphetamine, a Schedule II

controlled substance;

      In violation of Title 21, United States Code, Sections 841(a)(l) and (b)(l)(C).



                                     COUNT3

THE GRAND JURY FURTHER CHARGES:

      That on or about August 15, 2017, in the District of South Carolina, the

Defendant, KEITH DARRELL LONG, knowingly did possess a firearm in

furtherance of a drug trafficking crime as set forth in Count Two of this Indictment,

which is prosecutable in a court of the United States;

       In violation of Title 18, United States Code, Section 924(c)(l)(A).


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UNITED STATES ATTORNEY
